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                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     )
                                              )
                         Plaintiff,           )       CRIMINAL ACTION
                                              )
v.                                            )       No.    12-10089
                                              )
JUAN TORRES,                                  )
                                              )
                         Defendant.           )
                                              )

                                MEMORANDUM AND ORDER
           This case comes before the court on defendant’s motion to
dismiss.       (Doc. 419).       The court held an evidentiary hearing on
February 4, 2013.
I.         Facts
           On April 16, 2012, the grand jury returned an indictment against
23 defendants.        The indictment alleges 38 counts, including charges
of violent crimes in aid of racketeering, conspiracy and felon in
possession of a firearm.         The indictment alleges that defendants were
engaged in a criminal organization, the Nortenos gang, whose members
engaged in narcotics distribution and acts of violence involving
murder and robbery.       These crimes were alleged to have been committed
in Dodge City, Kansas.           Defendant Juan Torres is charged in four
counts.       The events concerning the charges occurred on October 4,
2008.
           According to government counsel, on that date, Torres was with
friends at the home of Abel Hernandez, a member of the Surenos, a
rival gang to the Nortenos. Torres and other unidentified individuals
had    a    dispute   with    Hernandez.          Torres    and    other   unidentified
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individuals left Hernandez’ home and returned with weapons.                     Torres
and other individuals fired the weapons at Hernandez’ home while they
drove by in a vehicle.       Two individuals in the home were shot.
         In October 2008, state authorities did not have any information
to believe that Torres was involved in the drive by shooting.
         In   the   summer   of   2010,     the   federal     authorities        began
investigating the Nortenos gang in Dodge City.                After the summer of
2010, leads from a confidential informant identified another potential
witness to the October 2008 shooting.             That witness was not located
and interviewed until January 2011.           In the interview, the witness
disclosed that Torres was involved in the October 2008 shooting.                    At
some point, the authorities also learned that Eric Sanchez was
involved in the drive by shooting.
        The witness who identified Torres in the shooting testified on
March 30, 2011, before the grand jury concerning the events of October
2008.     Assistant United States Attorney (AUSA) Aaron Smith did not
present the grand jury with an indictment at that time.                      Smith and
AUSA Lanny Welch presented additional evidence before the grand jury
over the next several months.             There were an additional sixteen
civilian witnesses who testified before the grand jury concerning the
charges against all defendants.
        Prior to the presentation of the indictment, the AUSA, in
accordance with Department of Justice policy, sought approval from DOJ
to proceed.     The approval process began February 2012.             DOJ approved
the indictment in April 2012.        The indictment was presented to the
grand jury on April 16, 2012.       At the time of presentment, Torres was



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twenty-one years old.1 At the time of alleged crime, Torres was
seventeen years old.        Eric Sanchez was not charged in the indictment
due to his age and his role as a minimal participant.                 Sanchez was a
juvenile at the time of the indictment.2
      AUSA   Smith   testified    that    there    were    no   discussions   about
delaying the presentation of the indictment due to Torres’ age.                   The
indictment includes several charges which allege crimes occurring from
August 2008 until February 5, 2012.
II.   Analysis
      Torres   argues   that     the   prosecutor’s       delay    in   seeking    an
indictment against him was prejudicial because Torres cannot utilize
the protections of the Federal Juvenile Delinquency Act (Act).                    The
Act establishes certain procedural protections for juveniles that may
remove them from the ordinary criminal justice system and place them
in a separate scheme of treatment and rehabilitation. United States
v. Hoo, 825 F.2d 667 (2d Cir. 1987).              The Act applies only to the
prosecution of “juveniles” who are charged with having committed acts
of “juvenile delinquency.” See 18 U.S.C. § 5032.
           A “juvenile” is a person who has not attained his
      eighteenth birthday, or for the purpose of proceedings and
      disposition under this chapter for an alleged act of
      juvenile delinquency, a person who has not attained his
      twenty-first birthday, and “juvenile delinquency” is the
      violation of a law of the United States committed by a
      person prior to his eighteenth birthday which would have
      been a crime if committed by an adult.
Id.
      The Act further provides certain procedures for juveniles who

      1
          Torres’ birth date is February 22, 1991.
      2
          Sanchez’ date of birth is unknown.

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committed acts of juvenile delinquency, including a requirement that
the Attorney General make a motion to transfer the juvenile to adult
proceedings.   “In applying Section 5031, the courts have consistently
held that a defendant who is alleged to have committed a crime before
his eighteenth birthday may not invoke the protection of the Juvenile
Delinquency Act if criminal proceedings begin after the defendant
reaches the age of twenty-one.”       Hoo, 825 F.2d at 669-70 (citing In
re Martin, 788 F.2d 696, 697–98 (11th Cir. 1986); United States v.
Araiza-Valdez, 713 F.2d 430, 432–33 (9th Cir. 1983); United States v.
Doe, 631 F.2d 110, 112–13 (9th Cir. 1980)).         Torres was twenty-one at
the time of the indictment.      Therefore, the protections of the Act do
not apply to him.
     Torres asserts that the delay in filing the indictment was due
to improper prosecutorial motive and that the delay prejudiced him
because he cannot now invoke the protections of the Act.                  “The
standards by which the constitutionality of preindictment delay must
be tested are (1) that the defense must be substantially prejudiced
by the delay and (2) that the reasons for the prosecutor's delay must
be improper.” Martinez v. Romero, 661 F.2d 143, 144 (10th Cir. 1981).
With respect to prejudice, Torres has not established that the end
result in this case would have been different if Torres had been
indicted when he was under twenty-one years of age.           The Act provides
that a juvenile who committed an Act of juvenile delinquency may be
charged in federal court if the offense charged is a crime of violence
and there is a substantial federal interest.           18 U.S.C. 5032.    AUSA
Smith testified that he would have sought certification from the court
if the indictment had been presented to the grand jury when Torres was

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20 years old.   Torres has not cited any authority which would support
the conclusion that this court would decline jurisdiction, i.e. deny
certification, given the facts alleged in the indictment.
     Torres has also failed to establish that the delay was due to an
improper reason on behalf of the prosecutor. The investigation by the
federal government included numerous witnesses and defendants.             The
case was presented to the grand jury over a period of several months.
There is no evidence that AUSA Smith prolonged the presentation of the
indictment on the basis of Torres’ age.          Rather, the evidence before
the court is that this case is complex, with 23 defendants, many
counts and a significant number of witnesses.           Therefore, Torres has
failed to establish that the government had an improper reason to
delay the presentation of the indictment.
III. Conclusion
     Torres’ motion to dismiss the indictment due to preindictment
delay is denied.    (Doc. 419).


     IT IS SO ORDERED.
     Dated this     6th     day of February 2013, at Wichita, Kansas.


                                           s/ Monti Belot
                                           Monti L. Belot
                                           UNITED STATES DISTRICT JUDGE




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